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 Fill in this information to identify the case:

 Debtor name         North Philadelphia Health System

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         16-18931-mdc
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                   $21,731,703.00
       From 7/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $88,686,399.00
       From 7/01/2015 to 6/30/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                  $105,588,104.00
       From 7/01/2014 to 6/30/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                   Rents and Charitable
       From 7/01/2016 to Filing Date                                                           Endowment Income                               $381,024.00


       For prior year:                                                                         Rents and Charitable
       From 7/01/2015 to 6/30/2016                                                             Endowment Income                               $956,774.00


       For year before that:                                                                   Rents and Charitable
       From 7/01/2014 to 6/30/2015                                                             Endowment Income                               $956,774.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

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3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Check Registers - Attachment One                                                                $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                       Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                      Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    See Attachment Two                                                                                                             Pending
               Schedules of Litigation in                                                                                                     On appeal
               Federal, Philadelphia County                                                                                                   Concluded
               and Other Jurisdictions.


8. Assignments and receivership
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    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Dilworth Paxson, LLP
                 1500 Market Street
                 Suite 3500E                                                                                                   December
                 Philadelphia, PA 19102                              Retainer                                                  2016                    $50,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers            Total amount or
                                                                                                                        were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
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    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange             was made                           value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     1524 W. Girard Avenue                                                                                     September 1997 to July 2015
                 Philadelphia, PA 19130

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care
       15.1.     Girard Medical Center                           Behavioral Medical Facilities                                           Approximately 1,000
                 801 W. Girard Avenue                                                                                                    inpatients/outpatients
                 Philadelphia, PA 19122                                                                                                  per day

                                                                 Location where patient records are maintained (if different from        How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                                                                 Same                                                                    Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Patient healthcare information and patient names, addresses, social
                   security numbers and telephone numbers
                   Does the debtor have a privacy policy about that information?
                     No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


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                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    North Philadelphia Health System 403(b) Sponsored Plan                                     EIN: None

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.
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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address
       PA DEP Underground Storage Tank                                                                    The State insured an                             Pending
       Insurance Fund (USTIF) Claim and                                                                   underground oil tank which                       On appeal
       Remediation                                                                                        leaked in 1994.
                                                                                                                                                           Concluded
       USTIF Claim No. 1994-044                                                                           The State has since that time
                                                                                                          conducted, and paid for, all
                                                                                                          necessary remediation which
                                                                                                          continues to date.


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address
       See Answer to Question 22.



 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Marcum LLP                                                                                                                 All relevant periods.
                    1600 Market Street
                    32nd Floor
                    Philadelphia, PA 19103
       26a.2.       Margaret A. Boemmel, NPHS CFO                                                                                              All relevant periods.
                    801 W. Girard Avenue
                    Philadelphia, PA 19122


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    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Marcum LLP                                                                                                           All relevant periods.
                    1600 Market Street
                    32nd Floor
                    Philadelphia, PA 19103

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Marcum LLP
                    1600 Market Street
                    32nd Floor
                    Philadelphia, PA 19103
       26c.2.       Margaret A. Boemmel, NPHS CFO
                    801 W. Girard Avenue
                    Philadelphia, PA 19122

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       NPHS Secured Creditors



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See January 2017 Board of
       Director List



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.




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       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       See January 2016 Director
       List


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.1                                                                                                              December 31,
       .    George J. Walmsley III                               Salary of $459,503.62, plus $ 41,355.45,                2015 through   Compensation for
               801 W. Girard Avenue                              pension contribution, car allowance and                 December 30,   employment
               Philadelphia, PA 19122                            health and other benefit plans.                         2016.          services.

               Relationship to debtor
               President & Chief Executive
               Officer


       30.2                                                                                                              December 31,
       .    Margaret A. Boemmel                                  Salary of $262,318.37, plus $150,000.00                 2015 through   Compensation for
               801 W. Girard Avenue                              one time retention bonus, car allowance                 December 30,   employment
               Philadelphia, PA 19122                            and and certain benefit plans.                          2016.          services.

               Relationship to debtor
               Elected Corporate Vice
               President and Chief Financial
               Officer


       30.3                                                                                                              December 31,
       .                                                                                                                 2015 through
                                                                                                                         December 30,
                                                                                                                         2016. Mr.
                                                                                                                         Sabatini's
                                                                                                                         employment
               Dominic A. Sabatini                                                                                       ended          Compensation for
               801 W. Girard Avenue                              Salary of $189,000.71, plus car allowance               December 30,   employment
               Philadelphia, PA 19122                            and certain other benefit plans.                        2016.          services.

               Relationship to debtor
               Chairman of the Board of
               Directors


       30.4                                                                                                                             Compensation for
       .                                                                                                                                employment
                                                                                                                                        services. Ms.
                                                                                                                                        McNally-Lalli's
                                                                                                                         December 31,   active
               Kathleen McNally-Lalli                                                                                    2015 through   employment
               801 W. Girard Avenue                              Salary of $184,999.98, plus health and                  December 30,   ended October 1,
               Philadelphia, PA 19122                            other benefit plans.                                    2016.          2016.

               Relationship to debtor
               Vice President and Chief
               Patient Services Officer



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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.5                                                                                                              December 31,
       .    Laura Boston-Jones                                                                                           2015 through      Compensation for
               801 W. Girard Avenue                              Salary of $149,991.30, plus health and                  December 30,      employment
               Philadelphia, PA 19122                            other benefit plans.                                    2016.             services.

               Relationship to debtor
               Vice President for Behavioral
               Medicince Programs


       30.6                                                                                                              December 31,
       .    Sharita Barnett                                                                                              2015 through
               801 W. Girard Avenue                              Salary of $114,736.75, plus health and                  December 30,
               Philadelphia, PA 19122                            other benefit plans.                                    2016.

               Relationship to debtor
               Vice President Human
               Resources


       30.7                                                                                                                                Compensation for
       .                                                                                                                                   employment
                                                                                                                                           services. Dr.
                                                                                                                                           McNeal is a
                                                                                                                                           part-time
                                                                                                                         December 31,      employee
               A. Scott McNeal, D.O.                                                                                     2015 through      providing ten (10)
               801 W. Girard Avenue                              Salary of $144,812.88, and certain benefit              December 30,      hours of service
               Philadelphia, PA 19122                            plans.                                                  2016.             per week.

               Relationship to debtor
               Senior Vice President and
               Chief Medical Officer


       30.8                                                                                                              December 31,
       .    Gerri H. Walker                                      Fees of $34,900 to the Director's                       2015 to           Marketing
               454 W. Clapier Street                             marketing services company, Walker                      December 30.      services to the
               Philadelphia, PA 19144                            Communications International, Inc.                      2016              Debtor

               Relationship to debtor
               Corporate Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    NPHS Purchase Money Pension Plan (Frozen 1995)                                                             EIN:        n/a




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 14, 2017

 /s/ George J. Walmsley III                                             George J. Walmsley III
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President & CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                           ATTACHMENT ONE

                           CHECK REGISTERS

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                           ATTACHMENT TWO

                         LITIGATION RECORDS

            FEDERAL, STATE AND OTHER TRIBUNALS
                                                       Case 16-18931-mdc                           Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02                                                                                   Desc Main
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                                                                                                                    North Philadelphia Health System
                                                                                                                  Open Asserted Professional Liability Matters




                                          Insured                 License               Location of      Policy                                        Other                                                                 Docket     County of       GATEWAY        GATEWAY     Date of      Date
Entity        Claimant                                                      Specialty                              Self-Insured Period                                              Specialty        Status     Venue
                                       Co-Defendants              Number                Occurrence        Year                                       Defendants                                                              Number    Occurrence        File No.       Analyst   Incident    Received


SJH           Atkerson,        North Philadelphia Health System    N/A        N/A            N/A         2015       Eff.: 7/1/15-7/1/16                   N/A                          N/A            OA      Philadelphia    4236     Philadelphia   P15-002-NPHS-B     Conte    9/28/2014   12/10/2015
                Philip
SJH            Beaver,         North Philadelphia Health System    N/A        N/A            N/A         2015       Eff.: 7/1/15-7/1/16       Drexel University Physicians             N/A            OA      Philadelphia    1584     Philadelphia   P15-003-NPHS-B     Conte    5/24/2013   10/20/2015
               Bernice

SJH             Byrd,                        N/A                   N/A        N/A            N/A         2013       Eff.: 7/1/13-7/1/14     Xenia Hospice & Paliative Care                            OA      Philadelphia    2118     Philadelphia   P14-003-NPHS-B     Conte    6/6/2012     6/2/2014
            Luther (Decd.)                                                                                                                          Susan Corley                 Owner of Xenia
                                                                                                                                                  Michael Titayevsky             Owner of Xenia
                                                                                                                                                   Richard Kedanis               Owner of Xenia




SJH            Calfee,         North Philadelphia Health System    N/A        N/A       Patient's room   2014       Eff.: 7/1/14-7/1/15             Ram, Nand MD                       N/A            OA      Philadelphia    1768     Philadelphia   P15-001-NPHS-B     Conte    5/18/2013   5/21/2015
                Ella            Subha Baby, RN (Shares with                                                                                     Girard Internal Medicine
                                             SJH)




SJH             Dixon,                       N/A                   N/A        N/A            N/A         2015       Eff.: 7/1/15-7/1/16         Sayeed, Mohammed MD                Pulmonology        OA      Philadelphia    2339     Philadelphia   P15-004-NPHS-B     Conte    6/24/2013   10/29/2015
            Faith (Decd.)                                                                                                                        Waples, Charles MD              Internal Medicine




SJH           Subijano,        North Philadelphia Health System    N/A        N/A            N/A         2015       Eff.: 7/1/15-7/1/16      Vansant, Monika Teresa D.O.                              OA      Philadelphia    1313     Philadelphia   P16-001-PHS-B      Conte                 1/4/2016
          Evangeline (Decd.)                                                                                                                      Berger, Neil, D.O.

SJH            Young,          North Philadelphia Health System    N/A        N/A            ED          2013       Eff.: 7/1/13-7/1/14         Uddoh, Christopher MD                  N/A            OA      Philadelphia    1100     Philadelphia   P13-004-NPHS-B     Conte    9/8/2010    11/14/2013
         Lauren Hill (a minor)                                                                                                             Private Physicians Specialty Clinic
                                                                                                                                                      (Dismissed)
                                                                                                                                                    Rose, Marisa MD
                                                                                                                                                Maternal Fetal Medicine
                                                                                                                                                Bhambhani, Sumita MD
                                                                                                                                               Temple Univ Hospital, Inc.
                                                                                                                                              Temple Univ Health System
                                                                                                                                                       Foundation
                                                                                                                                          Temple Univ. Physicians & Surgeons
                                                                                                                                             Temple University Physicians
                                                                                                                                          Temple Univ Hospital Anesthesiology
                                                                                                                                                          Dept
                                                                                                                                            Temple Univ School of Medicine
                                                                                                                                           Temple Univ of the Commonwealth
                                                                                                                                            System of Higher Education a/k/a
                                                                                                                                                  Temple Univ Hospital




 #1-b NPHS 2nd qtr_2016                                                                                                                         As of June 30, 2016
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                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 PHILIP ATKERSON, ET AL.,                                                    )                 Office of Judicial Records
                                                                             )                     05 JAN 2017 08:43 am
                                                                                                         C. FORTE
                                                  Plaintiffs,                )     CASE NO. 151104236
                                                                             )
                                                vs.                          )     NOVEMBER TERM, 2015
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM                                            )     No. 4236
 d/b/a ST. JOSEPH’S HOSPITAL                                                 )
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM d/b/a ST. JOSEPH’S
HOSPITAL, through its undersigned attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                                                                          Case ID: 151104236
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02      Desc Main
                                                           Document    Page 39 of 97




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electronic filing in the Court system to all counsel of record on January 5, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 151104236
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                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 BERNICE BEAVER,                                                             )                 Office of Judicial Records
                                                                             )                     05 JAN 2017 08:45 am
                                                                                                         C. FORTE
                                                  Plaintiff,                 )     CASE NO. 150501584
                                                                             )
                                                vs.                          )     MAY TERM, 2015
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM and                                        )     No. 1584
 ST. JOSEPH’S HOSPITAL,                                                      )
                                                                             )
                                                  Defendants.                )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendants, NORTH PHILADELPHIA HEALTH SYSTEM and NORTH
PHILADELPHIA HEALTH SYSTEM d/b/a ST. JOSEPH’S HOSPITAL, through their undersigned attorney,
and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendants suggest that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com


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                                                                                                          Case ID: 150501584
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electronic filing in the Court system to all counsel of record on January 5, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 150501584
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                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 ELLA CALFEE,                                                                )                 Office of Judicial Records
                                                                             )                     05 JAN 2017 08:47 am
                                                                                                         C. FORTE
                                                  Plaintiff,                 )     CASE NO. 150501768
                                                                             )
                                                vs.                          )     MAY TERM, 2015
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM and                                        )     No. 1768
 ST. JOSEPH’S HOSPITAL. ET AL.,                                              )
                                                                             )
                                                  Defendants.                )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendants, NORTH PHILADELPHIA HEALTH SYSTEM and NORTH
PHILADELPHIA HEALTH SYSTEM d/b/a ST. JOSEPH’S HOSPITAL, through their undersigned attorney,
and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendants suggest that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com


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                                                                                                          Case ID: 150501768
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                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 150501768
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                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 ANTHONY DIXON, INDIVIDUALLY AND AS                                          )                 Office of Judicial Records
 PERSONAL REPRESENTATIVE OF FAITH DIXON,                                     )                     05 JAN 2017 08:48 am
                                                                                                         C. FORTE
 DECEASED,                                                                   )
                      Plaintiffs,                                            )     CASE NO. 150602339
                                                                             )
                                                vs.                          )     JUNE TERM, 2015
                                                                             )
 ST. JOSEPH’S HOSPITAL, ET AL.,                                              )     No. 2339
                                                                             )
                                                                             )
                                                  Defendants.                )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, ST. JOSEPH’S HOSPITAL, a registered fictitious name of the NORTH
PHILADELPHIA HEALTH SYSTEM, through its undersigned attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com



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                                                                                                          Case ID: 150602339
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                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 150602339
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                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 RAYNOR SUBIJANO,                                                            )                 Office of Judicial Records
                                                                             )                     05 JAN 2017 08:50 am
                                                                                                         C. FORTE
                                                  Plaintiff,                 )     CASE NO. 151202313
                                                                             )
                                                vs.                          )     DECEMBER TERM, 2015
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM and                                        )     No. 2313
 ST. JOSEPH’S HOSPITAL. ET AL.,                                              )
                                                                             )
                                                  Defendants.                )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendants, NORTH PHILADELPHIA HEALTH SYSTEM and NORTH
PHILADELPHIA HEALTH SYSTEM d/b/a ST. JOSEPH’S HOSPITAL, through their undersigned attorney,
and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
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undersigned.
            WHEREFORE, the Defendants suggest that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com


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                                                                                                          Case ID: 151202313
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electronic filing in the Court system to all counsel of record on January 5, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 151202313
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
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                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 LAUREN HILL YOUNG, BY HER GUARDIANS,                                        )                 Office of Judicial Records
                                                                             )                     05 JAN 2017 08:51 am
                                                                                                         C. FORTE
                                                  Plaintiff,                 )     CASE NO. 131001100
                                                                             )
                                                vs.                          )     OCTOBER TERM, 2013
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM and                                        )     No. 1100
 ST. JOSEPH’S HOSPITAL. ET AL.,                                              )
                                                                             )
                                                  Defendants.                )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendants, NORTH PHILADELPHIA HEALTH SYSTEM and NORTH
PHILADELPHIA HEALTH SYSTEM d/b/a ST. JOSEPH’S HOSPITAL, through their undersigned attorney,
and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
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       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendants suggest that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com


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                                                                                                          Case ID: 131001100
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02      Desc Main
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            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 5, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 131001100
                 Case 16-18931-mdc       Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02              Desc Main
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North Philadelphia Health System Pending Litigation Eastern District of Pennsylvania
Docketed Suggestions of Bankruptcy January 4, 2017



Plaintiff:                          Court and Docket Number:                    Amount Claimed:

Agfa Health                         U.S. District Court No. 16-cv-3284-PBT      $432,200, plus costs

Access Systems Integration          U.S. District Court No. 16-cv-3988-ER       $321,113, plus costs

1199C Training Fund                 U.S. District Court No. 16-cv-00897-JHS     $276,223 Settlement

1199C Legal Fund                    U.S. District Court No. 16-cv-00232-BMS $45,000

NPHS v. Rahn et al.                 U.S. District Court No. 16-cv-03910-JD      Declaratory Judgment/
                                                                                $200,000 Counterclaim

Porter v. NPHS                      U.S. District Court No. 16-cv-04229-WB      EEO Claim

Thompkins v. NPHS, et al.           U.S. District Court No. 16-cv-02219-JD      EEO Claim
Case 16-18931-mdc    Doc 158 Filed
         Case 2:16-cv-03284-PBT    02/14/17 23Entered
                                 Document             02/14/17 09:28:02
                                               Filed 01/03/17  Page 1 of 2Desc Main
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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 AGFA HEALTHCARE CORPORATION,                            )
                                                         )
                      Plaintiff,                         )       Case No. 16-cv-03284-PBT
                                                         )
        v.                                               )
                                                         )
 NORTH PHILADELPHIA HEALTH SYSTEM,                       )
                                                         )
                      Defendant.                         )

                             SUGGESTION OF BANKRUPTCY

        NOW COMES Plaintiff Agfa Healthcare Corporation, and informs the Court that on

 December 30, 2016, Defendant North Philadelphia Health System (“NPHS”) filed a voluntary

 petition for relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy

 Court for the Eastern District of Pennsylvania as Case Number 16-18931. As such, any and all

 actions against Defendant NPHS should be stayed until the foregoing bankruptcy case is

 dismissed.


 Dated: January 3, 2017                           AGFA HEALTHCARE CORPORATION,

                                                  /s/ Nicola G. Suglia
                                                  Nicola G. Suglia
                                                  Allison L. Domowitch
                                                  Fleischer, Fleischer & Suglia, P.C.
                                                  Four Greentree Centre 601
                                                  Route 73 North, Suite 305
                                                  Marlton, NJ 08053
                                                  856/489-8977
                                                  856/489-6439 (Facsimile)
                                                  nsuglia@fleischerlaw.com
                                                  adomowitch@fleischerlaw.com

                                                  Alex Darcy
                                                  C. Randall Woolley
                                                  ASKOUNIS & DARCY, P.C.
                                                  444 N. Michigan Ave., Suite 3270

                                              1
Case 16-18931-mdc    Doc 158 Filed
         Case 2:16-cv-03284-PBT    02/14/17 23Entered
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                                               Filed 01/03/17  Page 2 of 2Desc Main
                            Document    Page 52 of 97



                                            Chicago, IL 60611
                                            312/784-2400
                                            312/784-2410 (Facsimile)
                                            adarcy@askounisdarcy.com
                                            rwoolley@askounisdarcy.com




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          Case 16-18931-mdc   Doc 158 Filed
                   Case 2:16-cv-03998-ER    02/14/1715 Entered
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                                                                             1 of 2Desc Main
                                     Document    Page 53 of 97

                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ACCESS SYSTEMS INTEGRATION,                                                 )
                                                                             )
                                                  Plaintiff,                 )     CASE NO. 16-cv-3998-ER
                                                                             )
                                                vs.                          )
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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          Case 16-18931-mdc   Doc 158 Filed
                   Case 2:16-cv-03998-ER    02/14/1715 Entered
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                                                                             2 of 2Desc Main
                                     Document    Page 54 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                     /s/ John D. Kutzler
                                                                     John D. Kutzler
                                                                     Proposed Corporate and Conflicts Counsel
                                                                     for the Debtor
                                                                     Buzby & Kutzler, Attorneys at Law
                                                                     Suite 100, 1633 W. Girard Avenue
                                                                     Philadelphia, PA 19130
                                                                     215-235-2775(v); 215-235-2771(f)
                                                                     johndkutzler@aol.com




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          Case 16-18931-mdc    Doc 158 Filed
                   Case 2:16-cv-00897-JHS    02/14/17 11Entered
                                           Document             02/14/17 09:28:02
                                                         Filed 01/04/17  Page 1 of 2Desc Main
                                      Document    Page 55 of 97

                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PHILADELPHIA HOSPITAL & HEALTH CARE                                         )
 EMPLOYEES - DISTRICT 1199C TRAINING AND                                     )
 UPGRADING FUND and CHERYL FELDMAN,                                          )
 Executive Director,                                                         )
                       Plaintiffs,                                           )     CASE NO. 16-cv-00897-JHS
                                                                             )
                                                vs.                          )
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


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362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com



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          Case 16-18931-mdc    Doc 158 Filed
                   Case 2:16-cv-00897-JHS    02/14/17 11Entered
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                                                         Filed 01/04/17  Page 2 of 2Desc Main
                                      Document    Page 56 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                     /s/ John D. Kutzler
                                                                     John D. Kutzler
                                                                     Proposed Corporate and Conflicts Counsel
                                                                     for the Debtor
                                                                     Buzby & Kutzler, Attorneys at Law
                                                                     Suite 100, 1633 W. Girard Avenue
                                                                     Philadelphia, PA 19130
                                                                     215-235-2775(v); 215-235-2771(f)
                                                                     johndkutzler@aol.com




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          Case 16-18931-mdc    Doc 158 FiledDocument
                   Case 2:16-cv-00232-BMS    02/14/17 15Entered  02/14/17 09:28:02
                                                          Filed 01/04/17  Page 1 of 2Desc Main
                                      Document    Page 57 of 97

                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 NICOLE NICHOLAS, AS ADMINISRATOR                                            )
 OF THE DISTRICT 1199C NATIONAL UNION OF                                     )
 HOSPITAL & HEALTH CARE EMPLOYEES-                                           )
 DISTRICT GROUP LEGAL SERVICES FUND,                                         )
                        Plaintiffs,                                          )     CASE NO. 16-cv-00232-BMS
                                                                             )
                                                vs.                          )
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

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Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
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362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com



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          Case 16-18931-mdc    Doc 158 FiledDocument
                   Case 2:16-cv-00232-BMS    02/14/17 15Entered  02/14/17 09:28:02
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                                      Document    Page 58 of 97




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electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                     /s/ John D. Kutzler
                                                                     John D. Kutzler
                                                                     Proposed Corporate and Conflicts Counsel
                                                                     for the Debtor
                                                                     Buzby & Kutzler, Attorneys at Law
                                                                     Suite 100, 1633 W. Girard Avenue
                                                                     Philadelphia, PA 19130
                                                                     215-235-2775(v); 215-235-2771(f)
                                                                     johndkutzler@aol.com




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          Case 16-18931-mdc   Doc 158 Filed
                   Case 2:16-cv-03910-JD    02/14/1721 Entered
                                         Document              02/14/17 Page
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                                                                             1 of 2 Desc Main
                                     Document    Page 59 of 97

                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )
                                                                             )     CASE NO. 16-cv-03910-JD
            Plaintiff and Cross-Claim Defendant,                             )
                                                                             )
                                                vs.                          )
                                                                             )
 CHRISTOPHER RAHN AND CHRISTINE PASIEKA,                                     )
                                                                             )
             Defendants and Cross-Claimants.                                 )
                                                                             )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
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undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                   Case 2:16-cv-03910-JD    02/14/1721 Entered
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                                     Document    Page 60 of 97




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electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                     /s/ John D. Kutzler
                                                                     John D. Kutzler
                                                                     Proposed Corporate and Conflicts Counsel
                                                                     for the Debtor
                                                                     Buzby & Kutzler, Attorneys at Law
                                                                     Suite 100, 1633 W. Girard Avenue
                                                                     Philadelphia, PA 19130
                                                                     215-235-2775(v); 215-235-2771(f)
                                                                     johndkutzler@aol.com




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Case 16-18931-mdc   Doc 158 Filed
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 NORTH PHILADELPHIA HEALTH                                      CIVIL ACTION
 SYSTEM,
               Plaintiff,

                v.
                                                                NO. 16-3910
 CHRISTOPHER RAHN, and
 CHRISTINE PASIEKA,
                Defendants.

                                             ORDER

        AND NOW, this 4th day of January, 2017, upon consideration of the Suggestion of

 Bankruptcy (Document No. 21, filed January 4, 2017), the Court noting from the Suggestion of

 Bankruptcy that plaintiff, North Philadelphia Health System, filed a Voluntary Petition for Relief

 under Chapter 11 of the United States Bankruptcy Code in the United States Bankruptcy Court

 for the Eastern District of Pennsylvania, Case No. 16-18931-MDC, on December 30, 2016, and

 that, pursuant to § 362 of the United States Bankruptcy Code, all proceedings in this case are

 automatically stayed, and good cause appearing, IT IS ORDERED as follows:

    1. All proceedings in this case are STAYED until further order of the Court;

    2. The Clerk of Court shall TRANSFER the case to the Civil Suspense File;

    3. The Clerk shall MARK the case CLOSED FOR STATISTICAL PURPOSES;

    4. The Court shall RETAIN jurisdiction over the case and the case shall be RETURNED to

 the Court’s active docket when there are no impediments to further proceedings and the case

 may proceed to final disposition;

    5. The entry of this Order is WITHOUT PREJUDICE to the rights of any party to request

 that the case be returned to the Court’s active docket; and,
Case 16-18931-mdc   Doc 158 Filed
         Case 2:16-cv-03910-JD    02/14/1722 Entered
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                                              Filed 01/05/17  09:28:02
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     6. The parties, through counsel, shall file and serve a joint status report with respect to the

 bankruptcy at six (6) month intervals or more frequently if warranted by the circumstances. One

 copy of each status report shall be served on the Court (Chambers, Room 12613) when the

 original is filed.

                                                       BY THE COURT:

                                                       /s/ Hon. Jan E. DuBois

                                                           DuBOIS, JAN E., J.




                                                   2
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
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                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 STEPHEN PORTER,                                                             )
                                                                             )
                                                  Plaintiff,                 )     CASE NO. 16-cv-04229-WB
                                                                             )
                                                vs.                          )
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

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Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
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            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                           Document    Page 64 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
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                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 KAREN THOMPKINS,                                                            )
                                                                             )
                                                  Plaintiff,                 )     CASE NO. 16-cv-02219-JD
                                                                             )
                                                vs.                          )
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


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                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                           Document    Page 66 of 97




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                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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North Philadelphia Health System Pending Litigation Philadelphia Court of Common Pleas
Docketed Suggestions of Bankruptcy January 4, 2017


Plaintiff:                         Court and Docket Number:                  Amount Claimed:

City of Philadelphia               Phila. CCP No. 1608T0596                  $137,000 Sheriff Sale

Simplex Grinnell                   Phila. CCP No. 160902174                  $57,407, plus costs

Bio-Medical Applications           Phila. CCP No. 161001059                  $240,475, plus costs

Wanda Hall (Trip and Fall)         Phila. CCP No. 151104100                  $130,000 Settlement Not Filed

Quest Diagnostics                  Phila. C.C.P. No. 161003939               $33,349, plus costs

Steven Leverette (Trip and Fall)   Phila. C.C.P. No. 161103114               Arbitration; under $50,000

Angela Deanes (Trip and Fall)      Phila. C.C.P. No. 160203981               Consent Judgment $14,000
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 68 of 97

                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 CITY OF PHILADELPHIA,                                                       )                 Office of Judicial Records
 (Water Revenue Bureau)                                                      )                     04 JAN 2017 05:40 am
                                                                                                       J. OSTROWSKI
                                                  Plaintiff,                 )     CASE NO. 1608T0596
                                                                             )
                                                vs.                          )     AUGUST TERM, 2016
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )     No. 0596
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


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362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com
Dated: January 4, 2017



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                                                                                                          Case ID: 1608T0596
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02      Desc Main
                                                           Document    Page 69 of 97




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electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 1608T0596
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                                Document    Page 70 of 97




 BY: JAMES ZWOLAK, DIVISONAL DEPTUY
 ATTORNEY IDENTIFICATION NO. 57408                                        Filed and Attested by the
 1401 JFK BLV.                                                           Office of Judicial Records
                                                                             04 JAN 2017 11:04 am
 MSB, 5th FL.                                                                    J. OSTROWSKI
 PHILADELPHIA, PENNSYLVANIA 19102
 (215 686-0523

 CITY OF PHILADELPHIA &
 SCHOOL DISTRICT OF PHILADELPHIA                   :       COURT OF COMMON PLEAS
                                                           PHILADELPHIA COUNTY
          vs.                                      :

                                                    :       CP No. 1608t0596
 NORTH PHILA. HEALTH




                PRAECIPE TO DISCONTINUE WITHOUT PREJUDICE


 TO THE PROTHONOTARY:

          Please mark the above-captioned matter discontinued without prejudice.

                                                   CITY OF PHILADELPHIA
                                                   SOZI PEDRO TULANTE
                                                   City Solicitor



                                                   By:
                                                         James Zwolak
                                                         Divisional Deputy City Solicitor


 Date: January 4, 2017

 A. BARRECA




                                                                                     Case ID: 1608T0596
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
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                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 SIMPLEX GRINNELL,                                                           )                 Office of Judicial Records
                                                                             )                     04 JAN 2017 05:12 am
                                                                                                       J. OSTROWSKI
                                                  Plaintiff,                 )     CASE NO. 160902174
                                                                             )
                                                vs.                          )     SEPTEMBER TERM, 2016
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )     No. 2174
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
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undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                                                                          Case ID: 160902174
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02      Desc Main
                                                           Document    Page 72 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 160902174
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 73 of 97

                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 BIO-MEDICAL APPLICATIONS, INC.,                                             )                 Office of Judicial Records
                      Plaintiff,                                             )     CASE NO.   161001059
                                                                                                   04 JAN 2017 05:14 am
                                                                                                       J. OSTROWSKI
                                                                             )
                                                vs.                          )     OCTOBER TERM, 2016
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )     No. 1059
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
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undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                                                                           Case ID: 161001059
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                                                           Document    Page 74 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 3, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 161001059
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 75 of 97

                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 WANDA HALL,                                                                 )                 Office of Judicial Records
                                                                             )                     04 JAN 2017 05:17 am
                                                                                                       J. OSTROWSKI
                                                  Plaintiff,                 )     CASE NO. 151104100
                                                                             )
                                                vs.                          )     NOVEMBER TERM, 2015
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )     No. 4100
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                                                                          Case ID: 151104100
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                                                           Document    Page 76 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 151104100
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 77 of 97

                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 QUEST DIAGNOSTICS,                                                          )                 Office of Judicial Records
                                                                             )                     04 JAN 2017 05:25 am
                                                                                                       J. OSTROWSKI
                                                  Plaintiff,                 )     CASE NO. 161003939
                                                                             )
                                                vs.                          )     OCTOBER TERM, 2016
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )     No. 3939
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
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undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                                                                          Case ID: 161003939
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02      Desc Main
                                                           Document    Page 78 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 161003939
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 79 of 97

                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 STEVEN LEVERETTE,                                                           )                 Office of Judicial Records
                                                                             )                     04 JAN 2017 05:28 am
                                                                                                       J. OSTROWSKI
                                                  Plaintiff,                 )     CASE NO. 161103114
                                                                             )
                                                vs.                          )     NOVEMBER TERM, 2016
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )     No. 3114
                                                                             )
                                                  Defendant.                 )     ARBITRATION CASE
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
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impose a charge on the property of the estate.
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undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com




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                                                                                                          Case ID: 161103114
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                                                           Document    Page 80 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 161103114
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 81 of 97

                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                      CITY AND COUNTY OF PHILADELPHIA

                                                                                                Filed and Attested by the
 ANGELA DEANES,                                                              )                 Office of Judicial Records
                                                                             )                     04 JAN 2017 05:19 am
                                                                                                       J. OSTROWSKI
                                                  Plaintiff,                 )     CASE NO. 160203981
                                                                             )
                                                vs.                          )     FEBRUARY TERM, 2016
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )     No. 3981
                                                                             )
                                                  Defendant.                 )     ARBITRATION CASE
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
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362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com
Dated: January 4, 2017



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                                                                                                          Case ID: 160203981
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02      Desc Main
                                                           Document    Page 82 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic filing in the Court system to all counsel of record on January 4, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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                                                                                                         Case ID: 160203981
                Case 16-18931-mdc        Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02               Desc Main
                                                Document    Page 83 of 97



North Philadelphia Health System Pending Litigation Miscellaneous Jurisdictions
Docketed Suggestions of Bankruptcy January 4, 2017


Plaintiff:                          Court and Docket Number:                      Amount Claimed:

Keystone Quality Transport          Delaware CCP No. 2016-4856                    $142,500 Settlement Collection Action

Kermit Brown (Employee)             EEOC Charge No 530-2016-00668                 Gender Based Retaliation

Hercules Williams (Employee)        EEOC Charge No. 530-2016-01673                Race Based Retaliation

Maurice Berry (Former Employee)     EEOC Charge No. 530-2015-03875                Settled Claim; Money Due
        Case 16-18931-mdc            Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02              Desc Main
                                            Document    Page 84 of 97

                                               Buzby & Kutzler
                                                    Attorneys at Law
                                                                                            New Jersey Office
Richard J. Buzby, Jr.* +                      Suite 100, 1633 W. Girard Avenue
John D. Kutzler*                              Philadelphia, Pennsylvania 19130            ____________________
                                                Telephone (215) 235-2775                      1310 Avenue A
*Members N.J. & Pa. Bars                          Fax        (215) 235-2771                Manahawkin, N.J. 08050
+
  Practice limited to N.J.                                                                   1-800-975-3336 Tel.
                                                                                           (609) 978-7198 Tel./Fax




          January 4, 2017

          Angela L. Martinez, Esquire
          Office of Judicial Support
          Court of Common Pleas
          County of Delaware
          Government Center, Room 126
          201 W. Front Street
          Media, PA 19063


                    Re:      Keystone Quality Transport Company v.
                             North Philadelphia Health System and Girard Medical Center
                             Civil Complaint Docket No. 2016-4856
                             Suggestion of Bankruptcy for Defendants


          To the Office of Judicial Support:

                    Please file the accompanying Suggestion of Bankruptcy in this matter. Thank you.


                                                                 Very truly yours,

                                                                 /s/ John D. Kutzler

                                                                 John D. Kutzler




          cc:       Mr. George J. Walmsley III, President & CEO, North Philadelphia Health System
                    Timothy Berger, Esquire, Counsel for Plaintiff (by e-mail only)



clerkofthecourt010417kqtvnphs
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 85 of 97

                              IN THE COURT OF COMMON PLEAS OF PENNSYLVANIA
                                           COUNTY OF DELAWARE

 KEYSTONE QUALITY TRANSPORT COMPANY,                                         )
                                                                             )     CASE NO. 2016-4856
                                                  Plaintiff,                 )
                                                                             )
                                                vs.                          )
                                                                             )
 NORTH PHILADELPHIA HEALTH SYSTEM,                                           )
                                                                             )
                                                  Defendant.                 )
                                                                             )

                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.
                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com
Dated: January 4, 2017




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                                                           Document    Page 86 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served January
4, 2017 by U.S.P.S. prepaid mail on the Plaintiff’s counsel of record.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 87 of 97

                                              BEFORE THE
                             U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION


                                                                       :
                                                                       :
Kermit Brown,                                                          :
       Charging Party,                                                 :
                                                                       :
            v.                                                         :    EEOC No. 530-2016-00668
                                                                       :
North Philadelphia Health System,                                      :
                      Respondent.                                      :



                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
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362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com



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          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02      Desc Main
                                                           Document    Page 88 of 97




            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic message to the EEOC on January 4, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
                                                                           Suite 100, 1633 W. Girard Avenue
                                                                           Philadelphia, PA 19130
                                                                           215-235-2775(v); 215-235-2771(f)
                                                                           johndkutzler@aol.com




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Case 16-18931-mdc          Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02                     Desc Main
                                  Document    Page 89 of 97


 -----Original Message-----
 From: johndkutzler <johndkutzler@aol.com>
 To: CYNTHIA.LOCKE <CYNTHIA.LOCKE@EEOC.GOV>
 Sent: Sat, Jan 7, 2017 7:01 pm
 Subject: Re: Hercules Williams v. NPHS, EEOC Charge 530-2015-01673 - NPHS Suggestion of
 Bankruptcy attached. JDK.




 -----Original Message-----
 From: CYNTHIA LOCKE <CYNTHIA.LOCKE@EEOC.GOV>
 To: johndkutzler <johndkutzler@aol.com>
 Sent: Thu, Sep 1, 2016 7:13 pm
 Subject: Hercules Williams v. NPHS, EEOC Charge 530-2015-01673

 Mr. Kutzler,

 I'm sending you this letter providing you with a date for submission of your position statement to EEOC.

 Thank you for participating in mediation; I am sorry that we were not able to reach the resolution we have
 envisioned.

 Best wishes,
 Cynthia

 Cynthia Locke, Federal Mediator
 Philadelphia District Office, EEOC
 Direct Dial (215) 440-2821
 Fax (215) 440-2822
 cynthia.locke@eeoc.gov
          Case 16-18931-mdc                         Doc 158 Filed 02/14/17 Entered 02/14/17 09:28:02       Desc Main
                                                           Document    Page 90 of 97

                                              BEFORE THE
                             U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION


                                                                       :
                                                                       :
Hercules Williams,                                                     :
       Charging Party,                                                 :
                                                                       :
            v.                                                         :    EEOC No. 530-2016-01673
                                                                       :
North Philadelphia Health System,                                      :
       Respondent.                                                     :



                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
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            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
                                                                            Suite 100, 1633 W. Girard Avenue
                                                                            Philadelphia, PA 19130
                                                                            215-235-2775(v); 215-235-2771(f)
                                                                            johndkutzler@aol.com



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            IT IS HERBY CERTIFIED that a copy of the foregoing Suggestion of Bankruptcy was served by
electronic message to the EEOC on January 7, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
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 -----Original Message-----
 From: johndkutzler <johndkutzler@aol.com>
 To: CYNTHIA.LOCKE <CYNTHIA.LOCKE@EEOC.GOV>
 Cc: samueldion <samueldion@aol.com>; samanthab1845 <samanthab1845@gmail.com>
 Sent: Sat, Jan 7, 2017 6:49 pm
 Subject: Re: Maurice Berry v. NPHS, EEOC Charge No. 530-2015-03875 - Suggestion of Bankruptcy,
 North Philadelphia Health System attached.



                             Buzby & Kutzler, Attorneys at Law
                                   1633 West Girard Avenue, Suite 100
                                    Philadelphia, Pennsylvania 19130
                               Telephone 215-235-2775 or 1-800-975-3336
                                            Fax 215-235-2771
                                                   and
                             1310 Avenue A, Manahawkin, New Jersey 08050
                                    Telephone and Fax 609-978-7198
                                          johndkutzler@aol.com

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                                              BEFORE THE
                             U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION


                                                                       :
                                                                       :
Maurice Berry,                                                         :
      Charging Party,                                                  :
                                                                       :
            v.                                                         :    EEOC No. 530-2015-03875
                                                                       :
North Philadelphia Health System,                                      :
                      Respondent.                                      :



                                                              SUGGESTION OF BANKRUPTCY


            COMES NOW the Defendant, NORTH PHILADELPHIA HEALTH SYSTEM, through its undersigned
attorney, and would show the Court:

      1.     It has filed a petition for relief under Title 11, United States Code, in the United States
Bankruptcy Court for the Eastern District of Pennsylvania, which bears the Case number 16-18931-mdc.
            2.          Relief was ordered on December 30, 2016.
      3.      This action is founded on a claim from which a discharge would be a release or that seeks to
impose a charge on the property of the estate.
       4.    This is for informational purposes only, and does not constitute a notice of appearance by the
undersigned.
            WHEREFORE, the Defendant suggests that this action has been stayed by the operation of 11 U.S.C. §
362.


                                                                            /s/ John D. Kutzler
                                                                            John D. Kutzler
                                                                            Proposed Corporate and Conflicts Counsel
                                                                            for the Debtor
                                                                            Buzby & Kutzler, Attorneys at Law
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                                                                            215-235-2775(v); 215-235-2771(f)
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electronic message to the EEOC and Charging Party’s Counsel on January 7, 2017.



                                                                           /s/ John D. Kutzler
                                                                           John D. Kutzler
                                                                           Proposed Corporate and Conflicts Counsel
                                                                           for the Debtor
                                                                           Buzby & Kutzler, Attorneys at Law
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                           ATTACHMENT TWO

                          DIRECTOR LISTINGS

                JANUARY 2016 AND JANUARY 2017
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                        NORTH PHILADELPHIA HEALTH SYSTEM
                           BOARD OF DIRECTORS’ TERMS
                                   JANUARY 2016


2017                               2018                                 2019
Rev. Ralph Blanks                  Sr. Mary Aquinas                     The Hon. Eugene Maier
Ahmeenah Young                     Dominic Sabatini                     William Vanore
Dominic Cermele                    Folasade Olanipekun-Lewis            John Meacham
Gerri Walker                                                            James Cuorato

George J. Walmsley III
Larry Wolk, MD (Ex-Officio)




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                          NORTH PHILADELPHIA HEALTH SYSTEM
                             BOARD OF DIRECTORS’ TERMS
                                     JANUARY 2017


   2018                              2019                                 2020
   Dominic Sabatini                  The Hon. Eugene Maier                Rev. Ralph Blanks
   Folasade Olanipekun-Lewis         William Vanore                       Gerri Walker
                                     John Meacham
                                     James Cuorato
                                     Juan Ramos
                                     The Hon. Felice Stack
                                     Ray Pescatore

George J. Walmsley III
Miles Ladenheim, MD (Ex-Officio)




   Resignations
   Sr. Mary Aquinas - July 2016
   Ahmeenah Young – October 2016




   801 W. Girard Avenue                Philadelphia, Pennsylvania 19122           (215) 787-9001
